    Case: 4:16-cv-02163-CDP                    Doc. #: 1-6    Filed: 12/30/16        Page: 1 of 1 PageID #: 27
   Reset

                                               UNITED STATES DISTRICT COURT
                                               EASTERN DISTRICT OF MISSOURI
MISSOURI PRIMATE FOUNDATION,
CONNIE BRAUN CASEY, individually,                            )
ANDREW SAWYER, individually, and           ,                 )
JANE DOES 1 and 2                                            )
                              Plaintiff,                     )
                                                             )
              v.                                             )    Case No. 4:16-cv-2163
PEOPLE FOR THE ETHICAL TREATMENT                             )
OF ANIMALS, INC. and ANGELA SCOTT
a/k/a ANGELA G. CAGNASSO,         ,                          )
individually                                                 )
                              Defendant,                     )
                                                             )

                                                  ORIGINAL FILING FORM

     THIS FORM MUST BE COMPLETED AND VERIFIED BY THE FILING PARTY
     WHEN INITIATING A NEW CASE.


              THIS SAME CAUSE, OR A SUBSTANTIALLY EQUIVALENT COMPLAINT, WAS

     PREVIOUSLY FILED IN THIS COURT AS CASE NUMBER

     AND ASSIGNED TO THE HONORABLE JUDGE                                                      .


              THIS CAUSE IS RELATED, BUT IS NOT SUBSTANTIALLY EQUIVALENT TO ANY

     PREVIOUSLY FILED COMPLAINT. THE RELATED CASE NUMBER IS                                               AND

     THAT CASE WAS ASSIGNED TO THE HONORABLE                                                  . THIS CASE MAY,

     THEREFORE, BE OPENED AS AN ORIGINAL PROCEEDING.


              NEITHER THIS SAME CAUSE, NOR A SUBSTANTIALLY EQUIVALENT

     COMPLAINT, HAS BEEN PREVIOUSLY FILED IN THIS COURT, AND THEREFORE

     MAY BE OPENED AS AN ORIGINAL PROCEEDING.



     The undersigned affirms that the information provided above is true and correct.



             December 30, 2016                          /s/ Kurtis B. Reeg
     Date:
                                                                  Signature of Filing Party
